 1
 2
 3
 4
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10
11    In re NATIONAL WESTERN LIFE                    CASE NO. 05CV1018 JM (LSP)
      INSURANCE DEFERRED
12    ANNUITIES LITIGATION                           ORDER GRANTING IN PART
                                                     AND DENYING IN PART
13                                                   DEFENDANT’S MOTION TO
                                                     DISMISS THE CONSOLIDATED
14                                                   AND AMENDED CLASS ACTION
                                                     COMPLAINT
15
           This putative class action arises out of an alleged scheme to defraud senior
16
     citizens into purchasing deferred annuities that are inappropriate for them. The
17
     Consolidated and Amended Class Action Complaint (“CAC”) asserts the following nine
18
     claims: (1) violations of the Racketeer Influenced and Corrupt Organizations Act
19
     (“RICO”), 18 U.S.C. § 1961 et seq.; (2) financial elder abuse in violation of the
20
     California Welfare & Institutions Code; (3) violations of sections 17200 and (4) 17500
21
     of the California Business & Professions Code; (5) breach of fiduciary duty; (6) aiding
22
     and abetting breach of fiduciary duty; (7) fraudulent concealment; (8) breach of the duty
23
     of good faith and fair dealing; and (9) unjust enrichment and imposition of constructive
24
     trust. Defendant National Western Life Insurance Company (“NWL”) now moves
25
     pursuant to Rule 12(b)(6) to dismiss the RICO, breach of fiduciary duty, and breach of
26
     the duty of good faith and fair dealing claims. After considering the parties’ papers and
27
     oral arguments, the court hereby GRANTS IN PART and DENIES IN PART the
28
     motion for the reasons set forth below.

                                               -1-                                   05cv1018
 1   I.    BACKGROUND
 2         For purposes of this motion, the court accepts the well-pled allegations of the
 3   CAC as true. Experimental Eng'g, Inc. v. United Technologies Corp., 614 F.2d 1244,
 4   1245 (9th Cir. 1980). At issue is the purchase and sale of deferred annuities to senior
 5   citizens. The CAC alleges that:
 6
 7         An annuity is a contract between an annuity owner (or “annuitant”) and an
           insurance company pursuant to which the annuity owner makes an upfront
 8         lump-sum payment or a series of payments to the insurance company. The
           insurance company, in turn, agrees to make payments to the annuity owner
 9         over a period of time. With a standard or “immediate” annuity, the
           annuitant has a right to a stream of income via payments from the insurance
10         company that is usually guaranteed to last for as long as the annuitant is
           alive . . . . With a deferred annuity, the annuitant forgoes payment until
11         some point in the future. . . . Thus, deferred annuities are very different
           from immediate annuities and provide a long-term investment vehicle, not
12         an up front income stream.
13
     CAC ¶¶ 17-18.
14
           Moving defendant, NWL, is a Colorado corporation headquartered in Texas.
15
     NWL sells deferred annuities on a national basis through a network of sales agent
16
     organizations and individual sales agents, including defendants Centre Point Advisors,
17
     Inc. (“Centre Point”) and Advanced Business Strategies Institute (“ABSI”). Both
18
     Centre Point and ABSI have defaulted in this action, and only NWL brings the present
19
     motion.
20
           The named plaintiffs are Warren Petry of El Cajon, California; Mr. and Mrs.
21
     Peter and Mary Glenane of Vista, California; Mary Sweeney of San Diego County,
22
     California; and George Miller of Kingston, Pennsylvania (collectively “Plaintiffs”).
23
     Each of the Plaintiffs is at least 68 years old. With the exception of plaintiff Miller,
24
     Plaintiffs purchased NWL annuities wholly in California. Plaintiff Miller purchased his
25
     NWL annuity in Pennsylvania.
26
           Plaintiffs allege that Defendants have engaged in a scheme to defraud Plaintiffs
27
     and other seniors into purchasing deferred annuities that were not appropriate for them.
28
     These annuities are inappropriate for Plaintiffs because they would not mature until well

                                               -2-                                   05cv1018
 1   after the annuitants’ expected life span. Therefore, Plaintiffs will either never receive
 2   any payments from their annuity policies, or be forced to access the annuity principal
 3   prematurely and incur substantial surrender charges as a result. Defendants also fail to
 4   adequately disclose material information on the risks associated with deferred annuities
 5   so that Plaintiffs may make an informed buying decision. Finally, NWL fraudulently
 6   manipulates the terms of the annuities after purchase in order to erode Plaintiffs’ returns
 7   on them.
 8   II.    STANDARD OF REVIEW
 9          Rule 12(b)(6) of the Federal Rules of Civil Procedure allows a court to dismiss
10   a complaint for failure to state a claim upon which relief can be granted. Such a
11   dismissal can be based on either the lack of a cognizable legal theory or the absence of
12   sufficient facts alleged under a cognizable legal theory. See Balistreri v. Pacifica Police
13   Dept., 901 F.2d 696, 699 (9th Cir. 1988). In applying this standard, the court must treat
14   all factual allegations as true and construe the complaint in the light most favorable to
15   the plaintiff. Experimental Eng'g, 614 F.2d at 1245; see Concha v. London, 62 F.3d
16   1493, 1500 (9th Cir. 1995).
17   III.   RICO
18          Congress enacted RICO with the specific intent to “thwart the organized criminal
19   invasion and acquisition of legitimate business enterprises and property.” Oscar v.
20   University Students Co-Operative Ass’n, 965 F.2d 783, 786 (9th Cir. 1992). To that
21   end, § 1964(c) provides in relevant part that
22          Any person injured in his business or property by reason of a violation of
            section 1962 of this chapter may sue therefor in any appropriate United
23          States district court and shall recover threefold the damages he sustains
            and the cost of the suit, including reasonable attorney’s fee[.]
24
25   18 U.S.C. § 1964(c).
26          The substantive provision of RICO, § 1962, describes the prohibited activities.
27   Plaintiffs here have alleged four RICO claims arising under § 1962(a)-(d), predicating
28   their claims on violations of the federal mail and wire fraud statutes. Defendant argues

                                                -3-                                    05cv1018
 1   that the McCarran-Ferguson Act precludes this court from applying RICO in this case.
 2   Defendant further argues that even if McCarran-Ferguson does not preclude application
 3   of RICO, the CAC fails to adequately allege the elements of a RICO claim. The court
 4   now addresses each argument in turn.
 5         A.     The McCarran-Ferguson Act
 6         McCarran-Ferguson provides in relevant part,
 7         No Act of Congress shall be construed to invalidate, impair, or supersede
           any law enacted by any State for the purpose of regulating the business
 8         of insurance, or which imposes a fee or tax upon such business, unless
           such Act specifically relates to the business of insurance.
 9
10   15 U.S.C. § 1012(b). Congress passed McCarran-Ferguson to ensure that federal law
11   would not automatically preempt state insurance laws unless the federal law specifically
12   related to the business of insurance. Humana Inc. v. Forsyth, 525 U.S. 299, 306 (1999).
13   McCarran-Ferguson was Congress’s response to United States v. South-Eastern
14   Underwriters Ass’n, 322 U.S. 533, 553 (1944), which held that an insurance company
15   doing business across state lines engaged in interstate commerce. Prior to South-
16   Eastern Underwriters, the Supreme Court “had consistently held that the business of
17   insurance was not commerce.” Humana, 525 U.S. at 306 (citing Paul v. Virginia, 8
18   Wall. 168, 183 (1869)).
19         Thus, McCarran-Ferguson will preclude application of federal law if (1) the
20   federal law does not specifically relate to the business of insurance, (2) defendant’s
21   challenged acts constitute “the business of insurance”, (3) California has enacted a law
22   or laws regulating defendant’s challenged acts, and (4) California law would be
23   invalidated, impaired, or superseded by allowing the California plaintiffs’ RICO claims.
24   § 1012(b); Merchants Home Delivery Serv. Inc. v. Reliance Group Holdings, Inc., 50
25   F.3d 1486, 1489 (9th Cir. 1995). The parties only dispute whether factors (2) and (4)
26   preclude application of RICO here.
27                      1.     “The Business of Insurance”
28         Plaintiffs contend that the alleged scheme is not the “business of insurance” but

                                               -4-                                  05cv1018
 1   rather the “business of fraud.” Defendant responds that the Ninth Circuit’s decision in
 2   Merchants Home, supra, undermines Plaintiffs’ contention.
 3         Whether a practice constitutes “the business of insurance” for purposes of
 4   McCarran-Ferguson depends on whether the practice has the effect of transferring or
 5   spreading the policyholders’ risks; whether the practice is an integral part of the policy
 6   relationship between the insurer and the insured; and whether the practice is limited to
 7   entities within the insurance industry. Merchants Home, 50 F.3d at 1490 (citing United
 8   Labor Life Ins. Co. v. Piereno, 454 U.S. 119, 129 (1982)).
 9         Applying these factors here, the court finds that the conduct alleged constitutes
10   the business of insurance. The CAC alleges that agents of NWL failed to disclose
11   material information regarding the terms of the annuities to senior citizens so that they
12   may understand the true risks and costs of these products. CAC ¶ 4. This practice has
13   the effect of spreading the policyholder’s risk; it just does so on unfavorable terms.
14   Therefore the first factor is satisfied. The fraudulent scheme is an integral part of the
15   policy relationship because it involves the sales practices between the insurer and
16   insured and the terms of the resulting policy. Furthermore, since the selling of annuities
17   is limited to the insurance industry, the third factor is met. Id. ¶ 17.
18         Relying on Thacker v. New York Life Ins. Co., 796 F. Supp. 1338, 1342 (E.D.
19   Cal. 1992), Plaintiffs argue that National Western’s alleged pattern of fraud does not
20   constitute “the business of insurance” but the “business of fraud.” Oppo. at 14-15. In
21   Merchants Home, the Ninth Circuit impliedly rejected Plaintiffs’ interpretation of
22   Thacker when it found that fraud in the form of overcharging for premiums on actual
23   policies was “the business of insurance.” See Merchants Home, 50 F.3d at 1490
24   (rejecting proposition that a practice forbidden by law is per se not the business of
25   insurance because “[t]his interpretation of the rule would read the McCarran-Ferguson
26   Act out of existence. Any practice which violated any federal statute would, by
27   definition, not be the ‘business of insurance,’ resulting in all federal statutes applying
28   to the business of insurance with their ‘full rigor.’ See [NAACP v. American Family

                                                -5-                                   05cv1018
 1   Mut. Ins. Co., 978 F.2d 287 (7th Cir. 1992)].”). Nor is the court persuaded by
 2   Plaintiffs’ argument that
 3         Indeed, this is not a case about the selling and issuance of life insurance
           to which McCarran-Ferguson would readily apply . . . . If anything, the
 4         deferred annuities at issue are complex financial instruments more akin
           to unregistered securities – not insurance . . . . Moreover, plaintiffs seek
 5         relief from the fraudulent stratagems used by NWL to target and sell
           improper deferred annuities to seniors.
 6
 7   Oppo. at 15. First, Plaintiffs’ argument that the deferred annuities here are not
 8   insurance but securities is too far-sweeping. Second, Merchants Home found that the
 9   fraudulent stratagems used in that case were “the business of insurance” so long as the
10   three factors– whether the practice transfers risk, whether the practice is integral to
11   policy relationship, and whether the practice is limited to insurance industry–are
12   satisfied. Merchants Home, 50 F.3d at 1490.
13         In sum, the court finds that the conduct alleged here amounts to “the business of
14   insurance” for purposes of McCarran-Ferguson. The next issue is whether applying
15   RICO would invalidate, impair, or supersede California’s insurance laws.
16                       2.      Impairment of State Law
17         The test for whether application of a federal law would impair state law for
18   purposes of McCarran-Ferguson is as follows:
19         When federal law does not directly conflict with state regulation, and
           when application of the federal law would not frustrate any declared
20         state policy or interfere with a State’s administrative regime, the
           McCarran-Ferguson Act does not preclude its application.
21
22   Humana, 525 U.S. at 310 (emphasis added).              Thus, this court must ascertain
23   California’s “declared state policy” and whether applying RICO here would frustrate
24   or interfere with that policy. In Humana, the Supreme Court reasoned that because the
25   Nevada insurance statutes authorize a private right of action for violations of various
26   unfair insurance practices, “we see no frustration of state policy in the RICO litigation
27   at issue here. RICO’s private right of action and treble damages provision appears to
28   complement Nevada’s statutory and common-law claims for relief.” Id. at 313.

                                                -6-                                       05cv1018
 1   Therefore, the Court concluded, McCarran-Ferguson presented no bar to plaintiff’s
 2   RICO claim. Id. at 314.
 3         The parties dispute the applicability of Humana to this case because Humana did
 4   not address whether allowing a RICO claim would impair state policy when the state
 5   does not expressly provide a statutory private right of action to enforce its insurance
 6   code. Such is the situation in California, and Defendant contends that the absence of
 7   such a cause of action under the insurance code means that Plaintiffs’ RICO claims fail
 8   pursuant to Humana. Courts are divided on whether this “statutory cause of action”
 9   distinction is material to the Humana impairment analysis. Compare LaBarre v. Credit
10   Acceptance Corp., 175 F.3d 640, 643 (8th Cir. 1999) (distinction material) with
11   American Chiropractic Ass’n, Inc. v. Trigon Healthcare, Inc., 367 F.3d 212, 232 (4th
12   Cir. 2004) (distinction immaterial). For the following reasons, the court finds that the
13   proper approach is to deem the distinction immaterial as this approach conforms better
14   to the principles underlying Humana.
15                       3.     California’s Declared State Policy
16         California prohibits certain unfair trade practices within the insurance industry.
17   Cal. Ins. Code § 790.03. In Moradi-Shalal v. Fireman’s Fund Ins. Co., 46 Cal.3d 287,
18   304-05 (1988), the California Supreme Court held that the insurance code does not
19   allow a private right of action, only administrative remedies, for violations of section
20   790.03. Defendant asks the court to infer from Moradi-Shalal that California has a
21   declared state policy against allowing private suits against insurers for practices made
22   unlawful by the California insurance code. See Mot. at 8; Reply at 3.
23         The court finds Defendant’s argument assumes too much. The holding in
24   Moradi-Shalal–that no private right of action exists to enforce section 790.03–is limited
25   to actions brought by third parties and insureds against insurers for bad faith refusal to
26   settle. Manufacturers Life Ins. Co. v. Superior Court, 10 Cal. 4th 257, 280 (1995). In
27   addition, California plaintiffs who are barred by Moradi-Shalal from bringing those
28   particular kinds of claims are nevertheless permitted to bring common law fraud and

                                                -7-                                   05cv1018
 1   breach of contract claims against insurers for the same conduct. Moradi-Shalal, 46 Cal.
 2   3d at 304-05. Nor does Moradi-Shalal bar all statutory, as opposed to common law,
 3   causes of action against insurers; in Manufacturers Life, the California Supreme Court
 4   allowed an antitrust claim under California’s Cartwright Act against the defendant
 5   insurer for wrongful conduct falling outside Moradi-Shalal’s prohibitive sweep.1 See
 6   Manufacturers Life, 10 Cal. 4th at 280, 284. Taken together, Moradi-Shalal and
 7   Manufacturers Life do not support Defendant’s contention that California has a broad
 8   policy prohibiting all private rights of action against insurers. Rather, these authorities
 9   demonstrate that although California may limit certain statutory remedies for certain
10   claims under its insurance code, California still provides for a robust policy in favor of
11   vindicating the rights of private plaintiffs damaged by an insurer’s unlawful conduct.
12         Against this backdrop, the court holds that allowing a RICO claim here would not
13   impair, impede, or supersede California law for purposes of McCarran-Ferguson.
14   Humana, 525 U.S. at 310. Allowing a RICO claim here would (1) advance California’s
15   interest in combating insurance fraud, and (2) not frustrate California’s policy
16   prohibiting private actions against insurers for bad faith refusal to settle. Rather,
17   applying RICO would complement California’s allowance for common law and non-
18   insurance code statutory private remedies. See Merchants Home, 50 F.3d at 1492; cf.
19   American Chiropractic Ass’n, 367 F.3d at 232.
20         Defendant cites Am. Int’l Group, Inc. v. Superior Court, 234 Cal. App. 3d 749
21   (1991) (hereinafter “AIG”) for the proposition that applying RICO would impair
22   California law. In AIG, the court held that McCarran-Ferguson barred the insured’s
23   RICO claim against defendant insurer because, under Moradi-Shalal, the Insurance
24   Code does not allow a private right of action for violations of its unfair trade practices
25
26
27         1
                  Although Plaintiffs here are asserting a statutory right of action under
                  federal law, not state law, the court finds this distinction immaterial for
28                purposes of the impairment analysis, and the parties have not put forth
                  argument to the contrary.
                                                -8-                                    05cv1018
 1   provision.2 Id. at 764-65. The court finds AIG unpersuasive and declines to follow it
 2   since whether McCarran-Ferguson precludes a RICO claim is a question of federal law.
 3   See Thacker, 796 F. Supp. at 1343, n.6 (citing D’Oench, Duhme & Co. v. Federal
 4   Deposit Ins. Corp., 315 U.S. 447, 455-56 (1942).
 5         To the extent Defendant argues this court should not rely on Merchants Home
 6   because it “disregarded the declared state policy of California”, Mot. at 9, this argument
 7   erroneously assumes that California’s policy is in fact to disallow all private remedies
 8   for conduct violative of its insurance code. Nor is the court persuaded by Defendant’s
 9   argument that “the reasoning of Humana is clearly at odds with Merchants, and
10   supersedes it.” Id. Humana unanimously affirmed the Ninth Circuit, which had relied
11   on Merchants Home for its decision. Forsyth v. Humana, Inc., 114 F.3d 1467, 1479-80
12   (9th Cir. 1997). Humana interpreted Merchants Home as providing a “direct conflict”
13   test for impairment, and eventually adopted this “direct conflict” language in its own
14   formulation of the impairment test for purposes of McCarran-Ferguson. Humana, 525
15   U.S. at 305, 310. Therefore, it cannot reasonably be said that Humana is at odds with
16   Merchants Home. To the contrary, the two decisions are entirely consistent with one
17   another.
18         For the foregoing reasons, the court finds that McCarran-Ferguson does not bar
19   the California plaintiffs’ RICO claims. The court now turns to the issue of whether the
20   CAC adequately pleads the elements of a claim arising under RICO.
21         B.     “Enterprise” Element
22         In order to state a claim under any subsection of § 1962, the complaint must
23   adequately allege the existence of a RICO “enterprise.” An enterprise is defined as
24   “any individual, partnership, corporation, association, or other legal entity, and any
25   union or group of individuals, associated in fact although not a legal entity[.]” 18
26   U.S.C. § 1961(4). The existence of an associated-in-fact enterprise requires proof of
27
28         2
                  The AIG court noted that plaintiff was still free to bring common law
                  fraud or breach of contract claims. 234 Cal. App. 3d at 768.
                                                -9-                                   05cv1018
 1   an ongoing organization and that the various associates function as a continuing unit.
 2   See United States v. Turkette, 452 U.S. 576, 583 (1981). Furthermore, “a RICO
 3   enterprise must have an ascertainable structure separate and apart from the structure
 4   inherent in the conduct of the pattern of racketeering activity.” Chang v. Chen, 80 F.3d
 5   1293, 1295 (9th Cir. 1996). This interpretation was adopted out of concern “that an
 6   overly broad construction of the term ‘enterprise’ would render that element of the
 7   offense interchangeable with the ‘pattern of racketeering’ element. Id. at 1297. The a
 8   RICO enterprise cannot be merely the sum of the predicate racketeering acts; rather,
 9   “[a]t a minimum, to be an enterprise, an entity must exhibit ‘some sort of structure . .
10   . for the making of decisions, whether it be hierarchical or consensual’ . . . . The
11   structure should provide ‘some mechanism for controlling and directing the affairs of
12   the group on an on-going, rather than an ad hoc, basis.’” Id. at 1299 (quoting United
13   States v. Riccobene, 709 F.2d 214, 222 (3d Cir. 1983)). As explained in United States
14   v. Bledshoe, 674 F.2d 647 (8th Cir. 1982), the enterprise
15         cannot simply be the undertaking of the acts of racketeering, neither can
           it be the minimal association which surrounds these acts. Any two
16         criminal acts will necessarily be surrounded by some degree of
           organization and no two individuals will ever jointly perpetrate a crime
17         without some degree of association apart from the commission of the
           crime itself. Thus unless the inclusion of the enterprise element requires
18         proof of some structure separate from the racketeering activity and
           distinct from the organization which is a necessary incident to the
19         racketeering, the Act simply punishes the commission of two of the
           specified crimes within a 10-year period.
20
21   Id. at 664.
22         Chang is a case where the alleged enterprise lacked the requisite degree of
23   separateness.   There, the persons perpetrating the real estate fraud were three
24   individuals: one who obtained options on the land, another who opened escrow and the
25   third who solicited buyers and established the purchase price. The RICO enterprise
26   consisted of the three individuals conducting the fraudulent sales transactions. As noted
27   by the Ninth Circuit, the organization must have an existence or structure beyond that
28   which is necessary to committing the predicate acts of racketeering. Chang, 80 F.3d at

                                               - 10 -                                05cv1018
 1   1299. Because the complaint failed to allege that the organization possessed a sufficient
 2   structure outside of the racketeering activities, the Chang court concluded that each
 3   defendant conducted his or her role in the alleged fraudulent real estate transactions
 4   autonomously. Id. at 1300. While the complaint alleged that the individuals conspired
 5   to commit the predicate acts of racketeering activity, the court noted that a conspiracy
 6   “is not an enterprise for purposes of RICO.” Id.
 7         The Ninth Circuit has also addressed the involvement of a corporation, which
 8   provides a separate, ascertainable structure to the RICO enterprise. “It is true that the
 9   involvement of a corporation, which has an existence separate from its participation in
10   the racketeering activity, can satisfy the enterprise element’s requirement of a separate
11   structure.” Id.
12         Here, the alleged enterprise is composed of Defendants, sales agents that have
13   earned or received commissions for selling a deferred annuity to a senior citizen, and
14   any others that have facilitated the sale or sold a deferred annuity to a senior. CAC ¶
15   105. Defendant argues that the CAC fails to allege the existence of a RICO enterprise
16   because the allegations indicate that each member of the alleged enterprise acted
17   autonomously to facilitate the sale of annuities without a centralized decision-making
18   apparatus. Chang, 80 F.3d at 1299. At most, Defendant contends, the allegations
19   support finding a conspiracy, and a conspiracy is not an enterprise for RICO purposes.
20   Id. at 1300.
21         Defendant’s contention lacks merit. Unlike Chang, the CAC here alleges a
22   system of authority that guided the operation of the enterprise. The CAC alleges the
23   existence of a common communication network through which enterprise participants
24   share information on a regular basis for the purposes of fraudulently selling deferred
25   annuities to senior citizens. CAC ¶ 109. The CAC also alleges that Defendants develop
26   and disseminate misleading marketing and sales materials, including “high-pressure
27   sales techniques and scripted sales presentations” to be used by individual sales agents.
28   Id. ¶¶ 42, 112. The CAC further alleges that the Defendants instruct sales agents to use

                                               - 11 -                                05cv1018
 1   standardized sales materials and techniques, and reward sales agents with “perks and
 2   high commissions for selling a deferred annuities to a senior citizen[.]” Id. ¶¶ 49, 112.
 3   If true, these allegations would support a finding that the enterprise provides “some
 4   mechanism for controlling and directing the affairs of the group on an on-going, rather
 5   than an ad hoc, basis.” Chang, 80 F.3d at 1299 (quotations omitted). The allegations
 6   speak to a comprehensive, coordinated system that exists for the perpetuation of fraud
 7   upon senior citizens, from initial identification of the sales target to the purchase of the
 8   deferred annuity itself, complete with a reward system that motivates sales agents to
 9   repeat the cycle on an ongoing basis.
10         On the other hand, the CAC alleges that
11         NWL has increasingly relied on independent agents/brokers, such as
           Mikhail and Maddy, and IMOs to market and sell its equity-indexed
12         deferred annuities. This has undercut NWL’s ability to properly train
           and supervise its brokers and agents such that it no longer ensures
13         Sales Agents disclose all material information about its deferred
           annuity products to consumers at the point of sale.
14
15   CAC ¶ 47. This allegation if true would not support a finding that there exists “a
16   system of authority that guided the operation of the alleged enterprise.” Chang, 80 F.3d
17   at 1300. However, when viewed as a whole, the CAC otherwise adequately alleges the
18   necessary degree of ongoing control and coordination to survive the instant motion to
19   dismiss.
20         The court also finds that the CAC sufficiently alleges the existence of an
21   enterprise separate and apart from the predicate acts, that is, “a structure to the
22   organization beyond that which was inherent in the alleged acts of racketeering
23   activity.” Id. at 1300.     The CAC alleges that many of Defendants’ services and
24   products are legitimate and non-fraudulent. CAC ¶¶ 107, 113. Defendants are alleged
25   to be corporations, which can satisfy “the enterprise element’s requirement of a separate
26   structure” so long as the corporations alleged to be part of the RICO enterprise were
27   involved in the RICO activity and had legal existences separate from their participation
28   in the racketeering. Chang, 80 F.3d at 1300 (citing United States v. Feldman, 853 F.2d

                                                - 12 -                                  05cv1018
 1   648, 660 (9th Cir. 1988)). Defendants NWL, Centre Point, and ABSI are all alleged to
 2   have participated in the RICO activity here and have to conduct legitimate business
 3   alongside the alleged predicate acts of racketeering. CAC ¶¶ 107, 113. Multiple
 4   corporations associating with numerous individuals to form a RICO enterprise, which
 5   is the allegation here, is enough to satisfy the requirement that the enterprise have a
 6   separate and distinct structure from the RICO defendant. CAC ¶ 105; see, e.g. Feldman,
 7   853 F.2d at 656.
 8         For the foregoing reasons, the court finds that the CAC adequately alleges the
 9   enterprise element of a RICO claim.
10         C.     Mail and Wire Fraud Allegations
11         Defendant also attacks the sufficiency of the mail and wire fraud allegations.
12   Defendant contends that since Plaintiffs’ fraud allegations are not plead with sufficient
13   particularity, the complaint fails to adequately allege the “racketeering activity”
14   element.
15         Rule 9(b)’s requirement that allegations of fraud be plead with particularity
16   applies to civil RICO claims. Edwards v. Marin Park, Inc., 356 F.3d 1058, 1065-66
17   (9th Cir. 2004). To allege a violation of the mail fraud statute, Plaintiffs must show that
18   (1) defendants formed a scheme or artifice to defraud; (2) the defendants used the mails
19   or caused a use of the mails in furtherance of the scheme; and (3) the defendants did so
20   with specific intent to deceive or defraud. Schreiber Distributing Co. v. Serv-well
21   Furniture Co., Inc., 806 F.2d 1393, 1399-1400 (9th Cir. 1986). As to the wire fraud
22   allegation, Plaintiffs must show (1) the formation of a scheme or artifice to defraud, (2)
23   use of the U.S. wires in furtherance of the scheme, and (3) specific intent to deceive or
24   defraud. Id. at 1400. To satisfy Rule 9(b), the complaint must “state the time, place,
25   and specific content of the parties to the misrepresentation.” See id. at 1401.
26         As Defendant correctly points out, the CAC fails to allege that any interstate
27   phone calls or use of the mails took place between Defendants and Plaintiffs. Although
28   it can be inferred that NWL, a Colorado corporation headquartered in Texas, used the

                                                - 13 -                                 05cv1018
 1   mail or made interstate phone calls to Plaintiffs residing in California and Pennsylvania,
 2   the court is reluctant to draw such an inference when dealing with a necessary element
 3   of the claim. This action has a defined and limited number of plaintiff-purchasers and
 4   defendant-sellers. As counsel acknowledged during oral argument, Plaintiffs should at
 5   least provide the specific details of mailings and interstate phone calls with respect to
 6   the named Plaintiffs. Transcript at 27.
 7         That being said, the court finds the current allegations are sufficiently particular
 8   to withstand the instant motion. Plaintiffs allege thousands of fraudulent mail and
 9   phone communications, but do not state the time, place, and specific content of the
10   communications. CAC ¶¶125, 162. The CAC provides a strong basis, implicit in the
11   pleadings, that Plaintiffs were contacted through use of the mails and interstate wires
12   in connection with the alleged fraud. This strong basis is enough to satisfy the federal
13   notice pleading standard. Conley v. Gibson, 355 U.S. 41, 48 (1957) (“The Federal
14   Rules reject the approach that pleading is a game of skill in which one misstep by
15   counsel may be decisive to the outcome and accept the principle that the purpose of
16   pleading is to facilitate a proper decision on the merits.”). In the interest of moving this
17   litigation forward, further details as to the particular mailings or interstate wire
18   communications can be dealt with in discovery and later evidentiary proceedings if
19   necessary. Plaintiffs’ counsel has already indicated that additional details with respect
20   to communications with Plaintiffs can be provided. Transcript at 27.
21         D.     “Pattern of Racketeering” Element
22         To state a RICO claim, the plaintiff must allege a “pattern of racketeering”, which
23   is defined as at least two predicate offenses within a ten-year period. 18 U.S.C. §
24   1961(5). Defendant argues that because the complaint fails to allege mail and wire
25   fraud with sufficient particularity, it also fails to adequately allege the pattern of
26   racketeering element. Mot. at 21.
27         Because the court has determined that the CAC adequately alleges mail and wire
28   fraud, Defendant’s argument is rejected. Moreover, the CAC alleges thousands of mail

                                                - 14 -                                  05cv1018
 1   and interstate wire communications, and the individual transactions alleged occurred
 2   within the last ten years, between 1999 and 2003. CAC ¶¶ 125, 162. Thus, the CAC
 3   adequately pleads a pattern of racketeering activity.
 4         E.     Section 1962(a)
 5         Defendant contends that the CAC fails to state a § 1962(a) claim, which provides
 6   in relevant part
 7
 8         It shall be unlawful for any person who has received any income
           derived, directly or indirectly, from a pattern of racketeering activity .
 9         . . to use or invest, directly or indirectly, any part of such income, or the
           proceeds of such income, in acquisition of any interest in, or the
10         establishment or operation of, any enterprise which is engaged in, or the
           activities of which affect, interstate or foreign commerce.
11
12   18 U.S.C. § 1962(a). To state a § 1962(a) claim, the plaintiff must allege an
13   “investment injury”, that is, he “‘must allege facts tending to show that he or she was
14   injured by the use or investment of racketeering income.’” Wagh v. Metris Direct, Inc.,
15   363 F.3d 821, 828 (9th Cir. 2003) (quoting Nugget Hydroelectric L.P. v. Pacific Gas
16   & Elec. Co., 981 F.2d 429 (9th Cir. 1992). Defendant argues that the CAC fails to
17   allege such an investment injury.
18         The court agrees with Defendant. Plaintiffs allege injuries from the racketeering
19   itself–mail and wire fraud–but not any injury from the investment of proceeds obtained
20   through the predicate acts of racketeering. See CAC ¶¶ 104, 114, 124, 138. Although
21   the CAC alleges that Defendants fraudulently derived income from Plaintiffs and used
22   that income to establish and/or operate the alleged enterprise, id. ¶ 151, it does not
23   allege “a causal link between [Plaintiffs’ injury] and the defendant’s violation.” Wagh,
24   363 F.3d at 829. The mere allegation that Defendants used proceeds from the
25   fraudulent scheme to establish and/or operate the enterprise is insufficient. Id. at 828-
26   29 (rejecting argument that a RICO defendant’s reinvestment of racketeering proceeds
27   derived from plaintiff into the general affairs of the enterprise is enough to satisfy
28   investment injury requirement under § 1962(a)).

                                                - 15 -                                     05cv1018
 1          Plaintiffs argue that no such separate “investment injury” showing is required,
 2   citing In re Nat’l Mortgage Equity Corp. Mortgage Pool Certificates Sec. Litig., 682 F.
 3   Supp. 1073 (C.D. Cal. 1987) and Lee v. Gen. Nutrition Cos., Inc., 2001 U.S. Dist.
 4   LEXIS 24739 (C.D. Cal. Nov. 26, 2001). Oppo. at 18-19. Those cases, however, were
 5   decided before and are inconsistent with Wagh to the extent that Wagh explicitly held
 6   that a separate investment injury is required for § 1962(a) claims. Wagh, 363 F.3d at
 7   829.
 8          Accordingly, the court finds that the CAC fails to state a § 1962(a) claim.
 9          F.    Section 1962(b)
10          RICO prohibits “any person through a pattern of racketeering activity . . . to
11   acquire or maintain, directly or indirectly, any interest in or control of any enterprise
12   which is engaged in, or the activities of which affect, interstate or foreign commerce.”
13   18 U.S.C. § 1962(b). To state a §1962(b) claim, a plaintiff must allege that the
14   defendant’s activity led to defendant’s control over or acquisition of a RICO enterprise,
15   and that Plaintiffs were injured as a result of said control or acquisition. Wagh, 363
16   F.3d at 830. This means that Plaintiffs must allege a specific nexus between the control
17   of the enterprise and the racketeering activity. Id.
18          Defendant argues that the complaint fails to allege that Plaintiffs have suffered
19   injury as a result of Defendants having acquired control of the alleged enterprise. Mot.
20   at 22. Plaintiffs respond that using ill-gotten gains allows Defendants to “maintain” the
21   Enterprise, and this maintenance harms Plaintiffs by allowing Defendants to further
22   their fraud upon seniors. Oppo. at 19.
23          Plaintiffs have the stronger argument here. By its express terms, § 1962(b)
24   prohibits the maintenance of control or interest in any enterprise engaged in interstate
25   commerce through a pattern of racketeering activity. The CAC alleges that Defendants
26   generated income from their fraudulent scheme, conduct which led to its acquisition,
27   maintenance, and control of the enterprise. CAC ¶¶ 151, 152. This conduct allegedly
28   resulted in economic harm to Plaintiffs. Id. ¶¶ 152, 165. These allegations are

                                               - 16 -                                05cv1018
 1   sufficient to state a § 1962(b) claim.
 2          G.     Section 1962(c)
 3          Section 1962(c) provides
 4          It shall be unlawful for any person employed by or associated with
            any enterprise engaged in, or the activities of which affect, interstate
 5          or foreign commerce, to conduct or participate, directly or
            indirectly, in the conduct of such enterprise's affairs through a
 6          pattern of racketeering activity or collection of unlawful debt.
 7
     18 U.S.C. § 1962(c). Section 1962(c) requires the “person” to be an entity distinct from
 8
     the “enterprise” itself. Cedric Kushner Promotions, Ltd. v. Don King, 533 U.S. 158,
 9
     161 (2001). Defendant contends this distinctness requirement is unsatisfied here.
10
            The RICO “persons” here are NWL, Centre Point, and ABSI. The “enterprise”
11
     is NWL, Centre Point, ABSI, individual sales agents, and any others who have
12
     participated in the scheme. CAC ¶ 105. Thus, the RICO “person” and “enterprise” here
13
     are distinct, because the alleged enterprise includes additional persons–the individual
14
     sales agents and any other participants–who are not RICO persons in this action. These
15
     allegations are enough to show that the RICO persons here were conducting not merely
16
     their own affairs but the affairs of the enterprise. Cedric Kushner, 533 U.S. at 163
17
     (citing Reves v. Ernst & Young, 507 U.S. 170, 185 (1993)).
18
            Defendant argues that these allegations are insufficient to show distinctness
19
     because the persons in the RICO enterprise are all agents of defendant NWL, and
20
     therefore the RICO defendants and RICO persons here are really the same. Mot. at 13.
21
     This argument, however, runs afoul of the Supreme Court guidance deeming an
22
     individual employee RICO person, acting within the scope of his employment,
23
     sufficiently distinct from the RICO enterprise–the employee’s corporation–despite the
24
     agency relationship between the two. Cedric Kushner, 533 U.S. at 163 (“The corporate
25
     owner/employee, a natural person, is distinct from the corporation itself, a legally
26
     different entity with different rights and responsibilities due to its different legal
27
     status.”).
28
            Defendant also argues that “the RICO enterprise cannot consist solely of the

                                                - 17 -                                 05cv1018
 1   corporation under a different name–some separate entity must be identified that
 2   comprises the ‘enterprise’.” Reply at 4. However, as already stated, the RICO
 3   enterprise here does not simply consist solely of the named Defendants, but of the
 4   named Defendants together with individual sales agents and any other participants.
 5   Moreover, it is the association of the multiple Defendants and sales agents which form
 6   the enterprise; this association is distinct from the individual corporate Defendants
 7   themselves. Riverwoods Chappaqua Corp. v. Marine Midland Bank, N.A., 30 F.3d 339
 8   (2d Cir. 1994), cited by Defendant, supports this conclusion. There, the Second Circuit
 9   noted that although
10         by virtue of the distinctness requirement, a corporate entity may not be
           both the RICO person and the RICO enterprise under section 1962(c)
11         . .. [t]his does not foreclose the possibility of a corporate entity being
           held liable as a defendant under section 1962(c) when it associates with
12         others to form an enterprise that is sufficiently distinct from itself. In
           this regard we have noted that a section 1962(c) claim may be sustained
13         where there is only a partial overlap between the RICO person and the
           RICO enterprise. . . and that a defendant may be a RICO person and one
14         of a number of members of the RICO enterprise.
15
     Id. at 344 (citations and internal quotations omitted).
16
           Finally, Defendant’s argument that the distinctness requirement is unmet here
17
     because the CAC fails to allege that the enterprise is engaged in activities that differ
18
     from the regular affairs of the corporate defendant is without merit. Reply at 5. As
19
     stated earlier, in addition to alleging that Defendants have engaged in fraud, the CAC
20
     also alleges that many of Defendants’ services and products are legitimate and non-
21
     fraudulent. See Part IIIB, supra.
22
           In sum, the distinctness requirement is satisfied for purposes of § 1962(c).
23
           The next § 1962(c) issue is whether plaintiff Miller’s claim is barred because the
24
     Defendants could not have operated or managed the Enterprise which sold Miller a
25
     competitor’s annuity. In order to be liable under § 1962(c), the RICO defendant must
26
     have participated in the operation or management of the enterprise itself. Reves v. Ernst
27
     & Young, 507 U.S. 170, 183 (1993).
28
           Defendant argues that even if the court finds the distinctness requirement

                                               - 18 -                                   05cv1018
 1   satisfied under § 1962(c), the court should still find that plaintiff Miller’s claim is
 2   barred because the Defendants could not have operated or managed the Enterprise
 3   which sold Miller a competitor’s annuity. Mot. at 11. This is because, according to
 4   Defendant, “Plaintiff Miller’s RICO claim depends on National Western being held
 5   responsible for alleged damage caused by Miller’s purchase of a competitor’s annuity.”
 6   Reply at 4 (emphasis in original). This argument misconstrues the allegations. The
 7   CAC alleges that Miller first purchased a competitor’s annuity from sales agent Larson
 8   and then liquidated that annuity to purchase a NWL annuity. CAC ¶ 94. The CAC
 9   alleges harm based on Defendants’ inducement of Miller to use proceeds from
10   liquidation of that competitor’s annuity to purchase a NWL annuity, an annuity which
11   was ultimately inappropriate for him, and not on Miller’s purchase of the competitor’s
12   annuity per se. This allegation is enough to show operation or management of the
13   enterprise for § 1962(c) purposes.
14         H.     Section 1962(d) claim
15         Section 1962(d) provides, “It shall be unlawful for any person to conspire to
16   violate any of the provisions of subsection (a), (b), or (c) of this section.” The CAC
17   alleges Defendants violated § 1962(d) by conspiring to violate § 1962(c). CAC ¶ 166.
18   Defendant argues that because Plaintiffs have failed to state a § 1962(c) claim, they
19   have likewise failed to state a § 1962(d) claim. Howard v. America Online, Inc., 208
20   F.3d 741, 751 (9th Cir. 2000). However, since the court finds that the CAC adequately
21   states a § 1962(c) claim, Defendant’s argument is rejected. Accordingly, the motion to
22   dismiss the § 1962(d) claim is denied.
23   IV.   STATE ALLEGATIONS
24         Defendant challenges the sufficiency of the allegations with respect to the
25   following pendant state claims.
26         A.     Breach of Fiduciary Duty
27         Defendant argues that Plaintiffs cannot state a breach of fiduciary duty claim
28   because in California, an insurer does not owe a strict fiduciary duty to its insured.

                                              - 19 -                               05cv1018
 1   Mot. at 22 (citing Vu v. Prudential Property, 26 Cal. 4th 1142, 1150-51 (2001)).
 2   However, the Vu court also noted that in California, the insurer-insured relationship is
 3   fiduciary in nature and carries with it heightened duties of good faith beyond those
 4   found in an ordinary contract. Vu, 26 Cal. 4th at 1150. Interpreting Vu and other
 5   California case law, the Central District of California has allowed a breach of fiduciary
 6   duty claim under facts similar to the ones here:
 7         Defendant argues [relying on, inter alia, Vu] that plaintiff’s claim for
           breach of fiduciary duty must be dismissed because under California
 8         law an insurer owes no fiduciary duty to its insureds, particularly
           where, as here, the alleged breach occurred prior to contract
 9         formation . . . Ninth Circuit courts, construing California law, hold
           that while the insurer-insured relationship is fiduciary in nature, it
10         does not provide for an independent action for common law breach
           of fiduciary duty . . . . The Court concludes plaintiffs [sic]
11         allegations are sufficient to state [a] claim for common law breach
           of fiduciary duty against defendant, in that the relationship alleged
12         is not simply that of an insurer-insured, but rather one which may
           entail a fiduciary duty . . . the Court cannot say with certainty that
13         plaintiff can ‘prove no set of facts’ entitling him to relief on a breach
           of fiduciary theory.
14
     Negrete ex rel. Ow v. Fidelity and Guaranty Life Ins. Co., 444 F. Supp. 2d 998, 1003-04
15
     (C.D. Cal. 2006) (citations omitted); see also Estate of Migliaccio, 436 F. Supp. 2d
16
     1095, 1108 (C.D. Cal. 2006) (same).
17
           The court finds that Plaintiffs have stated a breach of fiduciary duty claim.
18
     Construing the CAC in the light most favorable to plaintiff, the allegations here would
19
     support a finding that a special relationship, fiduciary in nature, was created between
20
     Plaintiffs and Defendants. The sales agents allegedly held themselves out as objective
21
     financial planners who act in Plaintiffs’ best interests. See CAC ¶¶ 66, 79. Moreover,
22
     senior citizens are a protected class in California and the annuities sold are allegedly
23
     complex financial instruments which the average person cannot understand. Id. ¶ 209.
24
     Taken together, these allegations provide a basis for finding a fiduciary-like duty in that
25
     “the insured must depend on the good faith and performance of the insurer” when
26
     deciding whether to purchase a NWL deferred annuity. Vu, 26 Cal. 4th at 1151.
27
     Therefore, the court cannot say that “it appears beyond doubt” that the Plaintiffs can
28
     prove no set of facts which would entitle them to relief on a fiduciary duty-based

                                                - 20 -                                 05cv1018
 1   theory. Conley, 355 U.S. at 45.
 2         Defendant argues this court should not rely on Negrete and Migliaccio because
 3   the weight of authority holds that no breach of fiduciary duty claim can be stated under
 4   the present facts. Reply at 7 (citing Solomon v. N. Am. Life & Cas. Ins. Co., 151 F.3d
 5   1132, 1138 (9th Cir. 1998); Vu, 26 Cal. 4th at 1150-51; Almon v. State Farm Fire &
 6   Cas. Co., 724 F. Supp. 765, 766 (S.D. Cal. 1989)). Defendant’s authorities are not
 7   controlling here. In Solomon, the Ninth Circuit, construing California law, held that an
 8   insurer owes no fiduciary duty to its insured. Solomon, 151 F.3d at 1138. However,
 9   the Ninth Circuit did not address whether the rule would be different if the insurer had
10   expressly held itself out as an objective expert acting in the insured’s best interests,
11   which is the allegation here. Rather, the facts in Solomon suggest that the insurer and
12   insured were dealing at arm’s-length by way of a trustee intermediary: the defendant
13   insurer in Solomon sold the policy to a trust formed for the purpose of obtaining a
14   group insurance policy for trust participants; thereafter, the plaintiff insured became a
15   participant of the trust and was issued term life insurance under the group policy. Id.
16   at 1134. On this basis, Solomon is distinguishable and does not control the instant case.
17
18         Almon is also distinguishable. There, the court held that, although in California
19   the duty between the defendant insurer and plaintiff insureds was fiduciary in nature,
20   “there is no independent cause of action for breach of fiduciary duty.” Almon, 724 F.
21   Supp. at 766. However, the court so held because California law “does not require the
22   insurer to place the insured’s interests before its own.” Id. Here, the CAC alleges that
23   Defendants’ sales agents represented to senior citizens that the agents were acting in the
24   seniors’ best interests. This allegation, not present in Almon, alters the analysis
25   because, as already stated, it would tend to show that Defendants affirmatively put
26   themselves in a fiduciary-like role. Thus, Almon is not controlling.
27         In sum, although California does not recognize a strict fiduciary duty between
28   insurer and insured, the court finds the allegations here, construed in the light most

                                               - 21 -                                 05cv1018
 1   favorable to Plaintiffs, are sufficient to state a claim for breach of fiduciary duty.
 2          B.    Duty of Good Faith and Fair Dealing
 3         In California, an insurer cannot breach the duty of good faith and fair dealing
 4   unless benefits are due under the policy. Waller v. Truck Ins. Exchange, Inc., 11 Cal.
 5   4th 1, 36 (1995). This is because “the covenant is implied as a supplement to the
 6   express contractual covenants, to prevent a contracting party from engaging in conduct
 7   that frustrates the other party’s rights to the benefits of the agreement.” Id. at 36.
 8         Here, Plaintiffs have not alleged that Defendants breached the annuity contracts,
 9   only that the Defendants fraudulently induced the Plaintiffs to enter into them.
10   Therefore, they have not stated a claim for breach of the duty of good faith and fair
11   dealing. Waller, 11 Cal. 4th at 36.
12         Plaintiffs offer two arguments as to why their breach of the duty of good faith
13   claim is not precluded by a failure to allege a breach of contract. First, Plaintiffs
14   contend that their claim is premised not only on the annuity contracts, but also on
15   Defendants’ alleged violations of Insurance Code section 785(a).3 Therefore, Plaintiffs
16   argue, their claim is viable without alleging a breach of contract. This argument lacks
17   merit. Although it appears that Defendants do owe Plaintiffs a duty pursuant to section
18   785(a), Plaintiffs have not identified whether California permits a private right of action
19   to enforce that provision. Cf. Moradi-Shalal, 46 Cal. 3d at 304-05.
20         Second, Plaintiffs contend that Waller does not preclude their claim because
21   California cases decided after Waller have held that a plaintiff can state a claim for bad
22   faith without also alleging a corresponding breach of contract. Oppo. at 22 (citing
23   Schwartz v. State Farm Fire & Cas. Co., 88 Cal. App. 4th 1329, 1339 (2001) and
24   Dalrymple v. United Services Auto. Ass’n., 40 Cal. App. 4th 497, 514-15 (1995)).
25
26         3
                  “All insurers, brokers, agents, and others engaged in the transaction of
                  insurance owe a prospective insured who is 65 years of age or older, a
27                duty of honesty, good faith, and fair dealing. This duty is in addition to
                  any other duty, whether express or implied, that may exist.” Cal.Ins.Code
28                § 785(a).

                                                - 22 -                                 05cv1018
 1         However, Plaintiffs misconstrue the applicability of Schwartz and Dalrymple
 2   here. In Schwartz, defendant insurer State Farm, in paying out benefits, allegedly
 3   favored one insured over another, both of whom were eventually deemed entitled to
 4   benefits under the same policy. The plaintiff insureds in Schwartz alleged this conduct
 5   violated the implied covenant of good faith and fair dealing. State Farm argued that
 6   because no benefits were yet due to the disfavored insureds at the time it paid benefits
 7   to the favored insured, then it did not commit a breach of contract and therefore could
 8   not have violated the duty of good faith. The court disagreed, relying on the principle
 9   that “a breach of the implied covenant of good faith is a breach of the contract.”
10   Schwartz, 88 Cal. App. 4th at 1339. Therefore, plaintiff’s bad faith claim was proper
11   even though it was premised on conduct occurring before State Farm’s contractual
12   obligations had matured.
13         The allegations in this case are distinguishable from the facts in Schwartz. In
14   Schwartz, the plaintiffs argued the breach occurred when State Farm mishandled an
15   existing contract. Here, Plaintiffs alleged that Defendants breached a duty of good faith
16   and fair dealing in the contract formation stages. CAC ¶¶ 228-233. Although the CAC
17   alleges that Plaintiffs have retained counsel “to recover amounts due under the
18   contracts” there is no allegation that such amounts are due. Id. ¶ 232. In fact, the crux
19   of the CAC seems to be that benefits will likely never become due within Plaintiffs’
20   expected lifespans.
21         Likewise, in Dalrymple, plaintiff insured’s bad faith claim challenged the manner
22   in which defendant insurer paid her claim. Dalrymple, 40 Cal. App. 4th at 515.
23   Although the insurer paid all benefits due, thereby fulfilling its contractual obligations,
24   it had done so under a reservation of rights and had filed suit for declaratory relief
25   regarding coverage. The Dalrymple court found that the insurer could still have
26   breached the duty of good faith in tort, notwithstanding that no breach of contract
27   occurred. Id. at 514-15. Unlike in Dalrymple, Plaintiffs here are not challenging the
28   manner in which Defendants paid amounts due under the contract. Rather, the focus

                                                - 23 -                                 05cv1018
 1   is on pre-contract sales techniques.
 2         Accordingly, the court finds that Plaintiffs have failed to state a claim for breach
 3   of the duty of good faith and fair dealing.
 4         C.     Plaintiff Miller’s Sections 17200 and 17500 Claims
 5         Defendant contends that plaintiff Miller’s California unfair competition and false
 6   advertising claims are barred because he is a Pennsylvania resident whose purchase
 7   took place wholly outside of California. Cal. Bus & Prof. Code §§ 17200, 17500. In
 8   California, a non-resident plaintiff has no section 17200 claim against non-California
 9   defendants for conduct occurring entirely outside of California. Norwest Mortgage, Inc
10   v. Superior Court, 72 Cal. App. 4th 214, 229 (1999). Although Norwest did not address
11   whether this rule also applies to section 17500 claims for false advertising, presumably
12   it does since applying California law to conduct having no connection to California
13   would raise serious due process concerns. Cf. id. at 227.
14         Plaintiffs do not dispute the rule of Norwest Mortgage, but instead contend that
15
16         Plaintiff Miller (like the rest of the plaintiffs) alleges that a substantial part of
           the events or omissions giving rise to plaintiffs’ claims occurred in California,
17         particularly that defendant transacted substantial business in California and
           failed to properly train and supervise agents about California law.
18
19   See Oppo. at 25. However, the allegation is that Miller is a Pennsylvania resident who
20   purchased a NWL annuity from a sales agent in Pennsylvania; NWL is a Colorado
21   corporation headquartered in Texas. Although the CAC alleges that NWL does
22   substantial business in California, there are no allegations linking NWL’s California
23   conduct with the Miller transaction in Pennsylvania. Plaintiffs try to cure this defect
24   by pointing out that two California corporations, Centre Point and ABSI, are joined here
25   as co-defendants. Id. However, this does not save Miller’s claim absent some showing
26   that Centre Point and ABSI participated in the Miller transaction. Since the Complaint
27   as alleged does not make this showing, Plaintiffs’ argument is unpersuasive.
28         Accordingly, the court finds that plaintiff Miller, and the class plaintiffs

                                                 - 24 -                                   05cv1018
 1   similarly-situated to Miller, cannot state claims arising under section 17200 and 17500.
 2         D.     Request to Strike References to California Insurance Code
 3         Finally, Defendant asks the court to strike references in the CAC to California
 4   Insurance Code §§ 785-790.10 because these statutes do not provide a private cause of
 5   action. However, plaintiffs do not seek a cause of action under the Insurance Code, but
 6   merely cite to its provisions as evidence of the applicable standard of conduct in support
 7   of their other claims. Therefore, Defendant’s request is denied.
 8   V.    CONCLUSION
 9         The court GRANTS the motion with respect to the § 1962(a), breach of the duty
10   of good faith and fair dealing, and plaintiff Miller’s sections 17200 and 17500 claims.
11   Accordingly, these claims are DISMISSED without prejudice. As to the remaining
12   claims, the motion is DENIED.
13         IT IS SO ORDERED.
14   DATED: December 7, 2006
15
                                                    Hon. Jeffrey T. Miller
16                                                United States District Judge
17   cc: All Parties
18
19
20
21
22
23
24
25
26
27
28


                                               - 25 -                                 05cv1018
